                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JOSEPH A. GIBSON, III,                      )
                                            )
                      Plaintiff,            )
                                            )
       v.                                   )              1:21CV791
                                            )
CHRIS FREEMAN, et al.,                      )
                                            )
                      Defendants.           )


                                           ORDER

       The Recommendation of the United States Magistrate Judge was filed with the Court

in accordance with 28 U.S.C. § 636(b) and, on November 3, 2021, was served on the parties

in this action.    (ECF Nos. 7, 8.)     Plaintiff filed objections to the Magistrate Judge’s

Recommendation. (ECF No. 11.) The Court has appropriately reviewed the Magistrate

Judge’s Recommendation and has made a de novo determination in accord with the Magistrate

Judge’s Recommendation.            The Court therefore adopts the Magistrate Judge’s

Recommendation.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion for Preliminary Injunction

and/or TRO, (ECF No. 3), is DENIED and that this action is DISMISSED under Section

1915(e)(2)(B) for failure to state a claim and/or due to judicial and/or prosecutorial immunity,

except as to Plaintiff’s individual-capacity claim against Defendant Lutz for excessive force

(and without prejudice to Plaintiff’s right to pursue individual-capacity claims for excessive




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force and/or deliberate indifference to serious medical needs against unnamed employees of

the Rockingham County Detention Center if he later can identify them).

      This, the 19th day of November 2021.


                                             /s/ Loretta C. Biggs
                                             United States District Judge




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